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            IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. CROIX
UNITED STATES OF AMERICA            )
                                    )
            Plaintiff,              )
                                    )               CRIMINAL NO. 2008-0020
            v.                      )
                                    )
AMON THOMAS, NATHANIEL              )
THOMAS, OKIMO MELIGAN, and          )
ANDREA SOTO                         )
                                    )
            Defendants.             )
____________________________________ )


                                           ORDER
FINCH, SENIOR JUDGE

       THIS MATTER comes before the Court on Defendant Okimo Meligan’s Motion to

Suppress Statement filed on January 13, 2008. Defendant Okimo Meligan moves to suppress all

statements he made at the time of his arrest. An evidentiary hearing was held on January 26,

2009, at which time the Government conceded to Defendant’s Motion. It is hereby


       ORDERED that Defendant Okimo Meligan’s Motion to Suppress Statement is

GRANTED.



       ENTERED this 26th day of January, 2009.


                                            ________________/s/______________________
                                            HONORABLE RAYMOND L. FINCH
                                            SENIOR U.S. DISTRICT JUDGE
       .




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